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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.                              Case No. 08-cr-161-01/02-SM

Alan Houghton and
Alnardo Suarez,
      Defendants

                                    ORDER


      Defendant Houghton’s motion to continue the trial is granted (document

no. 19). Trial has been rescheduled for the month of June 2009. Defendant

Houghton shall file a waiver of speedy trial rights not later than May 21, 2009.

On the filing of such waiver, his continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is scheduled for June 4, 2009 at 1:30 p.m.

      Jury selection will take place on June 16 2009 at 9:30 a.m.



      SO ORDERED.



                                     _________________________
                                       Steven J. McAuliffe
                                           Chief Judge


May 8, 2009

cc:   Bjorn Lange, Esq.
      Michael Zaino, SAUSA
      U.S. Marshal
      U.S. Probation




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